                  Exhibit 1

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             IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                     Case No.: 20-CV-954

    FARHAD AZIMA,                )
                                 )
              Plaintiff,         )
                                 )
         vs.                     )
                                 )
    NICHOLAS DEL ROSSO and VITAL)
    MANAGEMENT SERVICES, INC., )
                                 )
              Defendants.        )
    ____________________________




               DEPOSITION OF NICHOLAS DEL ROSSO

                              Volume I

               Contains Confidential Testimony

    ____________________________________________________

                             2:07 P.M.

                    Monday, February 13, 2023

    ____________________________________________________




    By:   Lisa Taylor, RPR




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 1     2014?
 2               A.       To the best of my recollection, yes.
 3               Q.       And that agreement lasted until the
 4     summer of 2019, when The Ruler told you Dechert had
 5     been relieved of its duties; correct?
 6               A.       Correct, yes.
 7               Q.       Who did you invoice for the work that
 8     you did for Dechert during those five years?
 9               A.       Dechert, I believe.
10               Q.       And who at Dechert got the -- your
11     invoices?
12               A.       (Indiscernible due to overtalking.)
13               Q.       And how did you --
14                        COURT REPORTER:          I'm sorry.   I
15               didn't -- you were talking at the same time.
16                        MR. BEHRE:      Sorry.
17                        COURT REPORTER:          I didn't get the
18               answer.
19                        THE WITNESS:       Neil Gerrard, G-E double
20               R-A-R-D.
21     BY MR. BEHRE:
22               Q.       And how did you send those invoices to
23     Neil Gerrard?
24               A.       E-mail.
25               Q.       And did those e-mails go to his e-mail
                                                                          90

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 1     address at the Dechert law firm?
 2               A.       Yes.
 3               Q.       And did he have an administrative
 4     assistant who received those and processed those for
 5     you?
 6               A.       I -- I don't know what -- what
 7     happened to them after I sent them.
 8               Q.       Did there ever come a time when you
 9     had to follow up or, as they say in the UK, chase
10     for payment of your bill?
11               A.       Well, follow up and chase, yes.
12               Q.       You did follow up and chase?
13               A.       Yes.
14               Q.       Just like most of us; right?
15               A.       Right.
16               Q.       And who did you chase when you had to
17     chase?
18               A.       Neil.
19               Q.       And was he able to assist you in
20     getting payments that might have been behind pay --
21     you know, overdue?
22               A.       I know that I got paid eventually, so
23     he must have, but I don't know what he did.
24               Q.       You're familiar with Jamie Buchanan,
25     you've already testified; right?
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 1               A.       Yes, I am the person to ask, but it
 2     doesn't mean to say that I am the person who can
 3     remember all of this.          I'm -- I don't know the
 4     numbers now.
 5               Q.       Your wife's not involved in the
 6     bookkeeping or the accounting; right?
 7               A.       She is not.
 8               Q.       Do you have an outside accountant that
 9     provides you services?
10               A.       He does my tax return, does the
11     company tax return, yes.
12               Q.       What is Gravitas International?
13                        MR. NEUMAN:      Objection.    Scope.    Lacks
14               foundation.
15                        THE WITNESS:       I thought it was -- I
16               thought -- what had I thought?          You'll have
17               to excuse me.
18                        Gravitas International was a private
19               company owned by Jamie Buchanan.
20     BY MR. BEHRE:
21               Q.       And they're involved in the balloon
22     industry, aren't they?
23                        MR. NEUMAN:      Objection.    Lacks
24               foundation.
25

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 1               and ambiguous.       Argumentative.
 2                        THE WITNESS:       Yes.
 3     BY MR. BEHRE:
 4               Q.       But you, in fact, have e-mails that
 5     are responsive to our requests; right?
 6                        MR. NEUMAN:      Objection to form.      To
 7               the extent you're asking for information that
 8               would be privileged based on my law firm's
 9               communications with Mr. Del Rosso about his
10               data, I would instruct him not to answer.
11                        MR. BEHRE:      Nobody asked him that
12               question.
13     BY MR. BEHRE:
14               Q.       But do you have e-mails that are
15     responsive to our document requests?
16                        MR. NEUMAN:      Objection to form.      Calls
17               for speculation.
18                        THE WITNESS:       I don't know.
19     BY MR. BEHRE:
20               Q.       Have you made any effort to search for
21     documents or data that is responsive to our requests
22     for documents?
23               A.       I've instructed my lawyers to do that.
24               Q.       And do you -- do you have a database
25     of information regarding Project Nariman that you
                                                                        103

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 1     could look at to determine whether you have anything
 2     that is responsive to our requests?
 3                        MR. NEUMAN:      Objection to form.
 4                        THE WITNESS:       No.
 5                        MR. NEUMAN:      Calls for a legal
 6               conclusion.
 7     BY MR. BEHRE:
 8               Q.       Do you have your own copies of bank
 9     records regarding the operation of Vital?
10               A.       I'm sure that I do, yeah.
11               Q.       Do you have agreements that you
12     entered into in support of your work for Dechert and
13     RAK?
14                        MR. NEUMAN:      Objection to form.
15                        THE WITNESS:       Quite possibly, yes.
16     BY MR. BEHRE:
17               Q.       And do you have text message that --
18     text messages that relate to the work that you did
19     for RAK?
20                        MR. NEUMAN:      Objection to form.
21                        THE WITNESS:       Text messages?
22     BY MR. BEHRE:
23               Q.       Yes.
24               A.       No.
25

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 1               Q.       Do you have any other type of
 2     messages, e-mail, Whatsapp, Signal, Confide, or
 3     those types of programs?
 4                        MR. NEUMAN:      Objection to the scope of
 5               the question.       Vague and ambiguous.      Overly
 6               broad.
 7                        THE WITNESS:       In relation to RAK,
 8               all -- all of the work I've done for RAK?
 9                        MR. BEHRE:      Yes.
10                        THE WITNESS:       Yes, I imagine I do,
11               yep.
12     BY MR. BEHRE:
13               Q.       And do you have copies of
14     communications you had with Amir Handjani about this
15     matter?
16                        MR. NEUMAN:      Objection to form.
17               Scope.     Vague and ambiguous.
18                        THE WITNESS:       I don't know.   We
19               communicated on Signal when -- up until when
20               we stopped communicating.
21     BY MR. BEHRE:
22               Q.       Do you retain your Signal records?
23               A.       I don't know how to other than to
24     photograph them.
25               Q.       Well, do you still have Signal on your
                                                                       105

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 1     BY MR. BEHRE:
 2               Q.       Who hired NTi?
 3               A.       NTi were hired through Chris Swecker,
 4     my attorney, by VMS, Vital Management.
 5               Q.       I thought you -- you or your lawyer
 6     said it was on behalf of Dechert?
 7               A.       (Indiscernible due to overtalking.)
 8                        MR. NEUMAN:      That's an objection to
 9               form.    Misstates testimony.
10                        THE WITNESS:       Sorry.
11                        MR. BEHRE:      I couldn't hear the
12               answer.
13                        THE WITNESS:       It was at Dechert's
14               instruction.
15     BY MR. BEHRE:
16               Q.       So Mr. Swecker was working at the
17     direction of Dechert?
18               A.       I was.     Mr. Swecker was my attorney,
19     and I asked him to engage NTi.
20               Q.       And who retained NTi?
21               A.       I did or my company did.
22               Q.       And did you -- do you recall
23     approximately what date you retained them?
24               A.       I can't now without the -- without the
25     e-mails that showed when I was -- I don't remember
                                                                        114

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 1     the dates.
 2               Q.       But you still have those e-mails;
 3     right?
 4               A.       Yes.
 5               Q.       And do you have a written agreement
 6     with NTi?
 7               A.       Again, I can't recall now.
 8               Q.       Does Mr. Swecker have a written
 9     agreement with NTi?
10               A.       I don't know.
11               Q.       Does Dechert have a written agreement
12     with NTi?
13               A.       It's possible.
14               Q.       Do you know?
15               A.       I don't know.
16               Q.       What precisely was the scope of your
17     work as directed by Dechert regarding NTi?
18                        MR. NEUMAN:      Same objection to the
19               extent that it would divulge attorney-client
20               privileged communication between Dechert's --
21               Dechert and Mr. Del Rosso or his company in
22               relation to its representation of RAK and
23               instruct him not to answer on that basis.
24     BY MR. BEHRE:
25               Q.       And is that your representation?
                                                                        115

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 1               Q.       The first one in New York.
 2                        MR. NEUMAN:      Lacks foundation.
 3                        THE WITNESS:       I don't know.      I don't
 4               know.
 5     BY MR. BEHRE:
 6               Q.       And would you have travel records that
 7     would show your travel to New York for those
 8     meetings?
 9               A.       Yes.
10                        MR. NEUMAN:      Objection.      Form.
11     BY MR. BEHRE:
12               Q.       And would those have been billed onto
13     whoever you were sending your bills to at the time,
14     which I assume is Dechert?
15               A.       Yes.
16               Q.       Was it Dechert that you were sending
17     your bills to?
18               A.       Yes.
19                        MR. NEUMAN:      Objection.      Scope.    Same
20               objection.
21                        THE WITNESS:       Sorry.      I keep...
22     BY MR. BEHRE:
23               Q.       And were you being paid a monthly
24     retainer plus costs?          Is that what financial
25     arrangement was?
                                                                        151

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 1                        MR. NEUMAN:      Objection to form.
 2                        THE WITNESS:       No.    Why?   No.
 3     BY MR. BEHRE:
 4               Q.       You haven't taken any steps to
 5     preserve the data that is in that e-mail address?
 6               A.       Why would I?       No.
 7                        MR. NEUMAN:      Objection to form.
 8                        THE WITNESS:       No.
 9     BY MR. BEHRE:
10               Q.       What about the e-mail address
11     ndr100@use.com?
12               A.       Usa.com.
13               Q.       Is that your e-mail address?
14               A.       It is, yes.
15               Q.       And do you still maintain that e-mail
16     account?
17               A.       I think so, yes.
18               Q.       And have you taken any steps to
19     preserve any data on there that might be responsive
20     to our requests in this case?
21                        MR. NEUMAN:      Same objection.
22                        THE WITNESS:       I haven't.
23     BY MR. BEHRE:
24               Q.       Have you provided any third party with
25     access, log-in information for either of these two
                                                                         182

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 1     addresses so they could preserve it?
 2                        MR. NEUMAN:      Objection to form.
 3                        THE WITNESS:       No.
 4                        MR. NEUMAN:      Calls for a legal
 5               conclusion.
 6                        THE WITNESS:       Did you say "preserve
 7               it"?
 8                        MR. BEHRE:      Yes.
 9                        THE WITNESS:       No.
10     BY MR. BEHRE:
11               Q.       How about the e-mail address
12     ndr@vitalmanage.com?
13               A.       That's my e-mail address, yes.
14               Q.       Do you still use that e-mail address?
15               A.       Yes.
16               Q.       And have you taken any steps to
17     preserve that e-mail inbox, outbox, whatever?
18               A.       Yes.
19               Q.       What steps have you taken?
20                        MR. NEUMAN:      Objection to the extent
21               it calls for attorney-client privileged
22               information.
23                        THE WITNESS:       I'm sorry.   Should I
24               answer that?
25                        MR. NEUMAN:      I don't want you to share
                                                                        183

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 1               A.       Project Nariman.          That's what you're
 2     asking about.
 3               Q.       Um-hum.     Was -- were there
 4     instructions given -- given by Dechert, including by
 5     Neil Gerrard, to not retain certain communications
 6     and documents regarding the work you were doing for
 7     Dechert?
 8               A.       There was a time when that -- and I
 9     don't know who it came from.                There was a time when
10     I was asked to return all of the data that I had
11     accumulated that had come from Dechert to Dechert.
12               Q.       And so you returned that data to
13     Dechert?
14               A.       I haven't yet.           It's on one of the
15     devices in London.
16               Q.       And who's requested the return of
17     that?     Which individual?
18               A.       I can't remember now.
19               Q.       When was that request made of you?
20               A.       It was made -- well, I don't know when
21     exactly it was made.          Probably 2019.       Because I was
22     asked to return it all at the conclusion of the
23     trial, which I never got to do.
24               Q.       And who made that request of you?
25               A.       I don't remember.
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